                                         Case 5:18-cr-00258-EJD Document 1006 Filed 09/07/21 Page 1 of 4




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     UNITED STATES OF AMERICA,                         Case No. 5:18-cr-00258-EJD-1
                                                        Plaintiff,                         ORDER RE PRELIMINARY JURY
                                   9
                                                                                           INSTRUCTIONS
                                                 v.
                                  10

                                  11     ELIZABETH A. HOLMES,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          The parties filed their proposed jury instructions on May 27, 2021. Dkt. Nos. 804, 809. At

                                  15   the August 16, 2021 pretrial conference, the Court discussed with the parties the preliminary

                                  16   instructions it intended to give prior to opening statements and made oral rulings on the record as

                                  17   to some requests. The Court advised the parties to meet and confer as to the language of Ninth

                                  18   Circuit Model Instruction 1.2, The Charge—Presumption of Innocence, and to submit their

                                  19   versions for the Court’s review. The parties could not agree on specific language and submitted

                                  20   their proposals to the court on August 26, 2021. Dkt. No. 955.

                                  21          Having reviewed the parties’ submissions, the Court adopts Defendant Elizabeth Holmes’s

                                  22   proposed language concerning “paying patients,” as this language is consistent with the Court’s

                                  23   prior order dismissing Counts Two and Nine through Eleven to the extent they rely on insured and

                                  24   non-paying patients. Dkt. No. 330 at 33. However, the Court declines to adopt Holmes’s position

                                  25   regarding the inclusion of language concerning overt acts. Dkt. No. 955 at 4. Holmes relies on

                                  26   United States v. Ball, 711 F. App’x 838, 841 (9th Cir. 2017) (quoting United States v. Green, 592

                                  27   F.3d 1057, 1067 (9th Cir. 2010)) to support inclusion of overt acts language. However, Green

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE PRELIMINARY JURY INSTRUCTIONS
                                                                        1
                                         Case 5:18-cr-00258-EJD Document 1006 Filed 09/07/21 Page 2 of 4




                                   1   concerned a charge of conspiracy to commit an offense against or defraud the United States under

                                   2   18 U.S.C. § 371, the prosecution of which requires an overt act. In opposing Holmes’s proposal,

                                   3   the Government points to cases alleging conspiracy under 18 U.S.C. § 1349—the relevant charge

                                   4   here—from other circuits that do not require proof of an overt act. Dkt. 955 at 2 n.2. The Court

                                   5   finds that inclusion of overt acts language is unnecessary. United States v. Hussain, No. 16-CR-

                                   6   00462-CRB, 2018 WL 3619797, at *34 (N.D. Cal. July 30, 2018) (holding that no overt act is

                                   7   necessary for a conviction of 18 U.S.C. § 1349, and that Green does not apply because that case

                                   8   concerned § 371, which expressly includes an overt act requirement, whereas § 1349 does not),

                                   9   aff’d, 972 F.3d 1138 (9th Cir. 2020), & aff’d, 818 F. App’x 765 (9th Cir. 2020); see also Ninth

                                  10   Circuit Model Instruction 8.20 cmt. (“Use the third element in this instruction only if the

                                  11   applicable statute requires proof of an overt act, . . . but omit the third element when the applicable

                                  12   statute does not require proof of an overt act.”).
Northern District of California
 United States District Court




                                  13           The Court recognizes the preliminary instructions are instructive and helpful to the jury at

                                  14   the beginning of trial, as they inform jurors of their duties, procedure, and protocol to follow

                                  15   during their service. The preliminary instructions also inform the jury that they will receive final

                                  16   instructions at the end of the case that will guide their deliberations. Some of the preliminary

                                  17   instructions are repeated in the final instructions. Thus, while the preliminary instructions are

                                  18   helpful to guide the jury at the beginning of and during trial, it is the final instructions that

                                  19   formally charge the jury as to the law and concepts they are to apply to the evidence admitted and

                                  20   the facts as the jury finds them. The Court will hold a final jury instruction charging conference

                                  21   prior to the close of evidence where the parties may be heard as to the state of the evidence and

                                  22   their respective positions on final jury instructions.

                                  23           With this in mind, and considering the parties’ submissions, the Court will read

                                  24   Preliminary Instruction 1.2 as follows:

                                  25                   1.2 THE CHARGE—PRESUMPTION OF INNOCENCE
                                  26                   This is a criminal case brought by the United States government.
                                                       The government charges Ms. Holmes with conspiracy to commit
                                  27                   wire fraud against Theranos investors, conspiracy to commit wire
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE PRELIMINARY JURY INSTRUCTIONS
                                                                        2
                                        Case 5:18-cr-00258-EJD Document 1006 Filed 09/07/21 Page 3 of 4



                                                 fraud against Theranos paying patients, and wire fraud against
                                   1             Theranos investors and paying patients.
                                   2             The charges against Ms. Holmes are contained in the indictment.
                                                 The indictment simply describes the charges the government brings
                                   3             against Ms. Holmes. The indictment is not evidence and does not
                                                 prove anything.
                                   4
                                                 Ms. Holmes has pleaded not guilty to the charges and is presumed
                                   5             innocent unless and until the government proves Ms. Holmes guilty
                                                 beyond a reasonable doubt. In addition, Ms. Holmes has the right to
                                   6             remain silent and never has to prove innocence or present any
                                                 evidence.
                                   7
                                                 In order to help you follow the evidence, I will now give you a brief
                                   8             summary of the elements of the charged offenses. As I have said, at
                                                 the end of the trial I will give you more detailed instructions that
                                   9             will control your deliberations.
                                  10             There are twelve counts in the indictment. The government must
                                                 prove each element for each count beyond a reasonable doubt to
                                  11             make its case.
                                  12             Counts One and Two charge conspiracy to commit wire fraud.
Northern District of California
 United States District Court




                                  13              Ms. Holmes is charged in Count One with conspiring to commit
                                                 wire fraud against investors in Theranos during the period 2010 to
                                  14             2015.
                                  15             Ms. Holmes is charged in Count Two of the indictment with
                                                 conspiring to commit wire fraud against patients who paid for
                                  16             Theranos’s blood testing services during the period 2013 to 2016.
                                  17             A conspiracy is a kind of criminal partnership—an agreement of two
                                                 or more persons to commit one or more crimes. The crime of
                                  18             conspiracy is the agreement to do something unlawful; it does not
                                                 matter whether the crime agreed upon was committed.
                                  19
                                                 In order for Ms. Holmes to be found guilty of the charges of
                                  20             conspiracy, the government must prove each of the following
                                                 elements beyond a reasonable doubt:
                                  21
                                                        First, that there was an agreement between two or more
                                  22                    persons to commit wire fraud. I will define the elements of
                                                        wire fraud in a minute.
                                  23
                                                        And second, that Ms. Holmes became a member of each
                                  24                    alleged conspiracy knowing of at least one of its objects and
                                                        intending to help accomplish it.
                                  25
                                                 Counts Three through Twelve charge wire fraud.
                                  26
                                                 Counts Three though Eight charge wire fraud against investors in
                                  27             Theranos.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE PRELIMINARY JURY INSTRUCTIONS
                                                                        3
                                         Case 5:18-cr-00258-EJD Document 1006 Filed 09/07/21 Page 4 of 4




                                   1                Counts Nine through Twelve charge wire fraud against paying
                                                    Theranos patients.
                                   2
                                                    In order for Ms. Holmes to be found guilty of the charges of wire
                                   3                fraud, the government must prove each of the following elements
                                                    beyond a reasonable doubt:
                                   4
                                                           First, that Ms. Holmes knowingly participated in, devised, or
                                   5                       intended to devise a scheme or plan to defraud, or a scheme
                                                           or plan for obtaining money or property by means of false or
                                   6                       fraudulent pretenses, representations, promises, or omitted
                                                           facts.
                                   7
                                                           To convict Ms. Holmes of wire fraud based on omissions of
                                   8                       material facts, you must find that Ms. Holmes had a duty to
                                                           disclose the omitted facts arising out of a relationship of
                                   9                       trust. That duty can arise either out of a formal fiduciary
                                                           relationship, or an informal, trusting relationship in which
                                  10                       one party acts for the benefit of another and induces the
                                                           trusting party to relax the care and vigilance which it would
                                  11                       ordinarily exercise.
                                  12                       A scheme to defraud is a deceptive scheme to deprive a
Northern District of California
 United States District Court




                                                           person of money or property.
                                  13
                                                           Second, that the statements made or facts omitted as part of
                                  14                       the scheme were material; that is, they had a natural
                                                           tendency to influence, or were capable of influencing, a
                                  15                       person to part with money or property;
                                  16                       Third, that Ms. Holmes acted with the intent to defraud, that
                                                           is, the intent to deceive and cheat; and
                                  17
                                                           Fourth, that Ms. Holmes used, or caused to be used, an
                                  18                       interstate or foreign wire communication to carry out or
                                                           attempt to carry out an essential part of the scheme.
                                  19

                                  20         IT IS SO ORDERED.
                                  21   Dated: September 7, 2021
                                  22

                                  23
                                                                                                 EDWARD J. DAVILA
                                  24                                                             United States District Judge
                                  25

                                  26
                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE PRELIMINARY JURY INSTRUCTIONS
                                                                        4
